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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

JOHN HEYKOOP doing business as
EAGLE TOWING,
                                           NO. 1:18-cv-00632
       Plaintiff,
                                           HON. ROBERT J. JONKER
v
                                           MAG. PHILLIP J. GREEN
MICHIGAN STATE POLICE, DAVID
ROESLER, JEFFREY WHITE, and
CHRIS McINTIRE,

       Defendants.

                                           Patrick S. Myers (P81444)
Christopher S. Patterson (P74350)          Assistant Attorney General
John S. Brennan (P55431)                   Attorney for Defendants
Fahey Schultz Burzych Rhodes PLC           Civil Litigation, Employment &
Attorneys for Plaintiff                    Elections Division
4151 Okemos Road                           P.O. Box 30736
Okemos, MI 48864                           Lansing, MI 48909
(517) 381-0100
                                           (517) 373-6434
                                                                                /

                      DEFENDANTS’ MOTION TO DISMISS

      Defendants Michigan State Police, David Roesler, Jeffrey White, and Chris

McIntire, through the undersigned attorney, bring this motion under Fed. R. Civ. P.

12(b)(6), based on the grounds set forth in Defendants’ accompanying brief.

      In compliance with Local Civil Rule 7.1(d) of the U.S. District Court for the

Western District of Michigan, concurrence in the relief requested was sought from

counsel for Plaintiff on July 11, 2018. Counsel for Plaintiff indicated he is opposed

to the relief requested.
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      Defendants respectfully request that this Court grant their motion, and that

Plaintiff’s Complaint be dismissed.

                                               Respectfully submitted,

                                               Bill Schuette
                                               Attorney General

                                               s/Patrick S. Myers
                                               Patrick S. Myers (P81444)
                                               Assistant Attorney General
                                               Attorney for Defendants
                                               Civil Litigation, Employment &
                                               Elections Division
                                               P.O. Box 30736
                                               Lansing, MI 48909
                                               517.373.6434
                                               myersp4@michigan.gov
                                               P81444
Dated: July 11, 2018


                           CERTIFICATE OF SERVICE

I hereby certify that on July 11, 2018, I electronically filed the foregoing paper with
the Clerk of the Court using the ECF system which will send notification of such
filing of the foregoing document as well as via US Mail to all non-ECF participants.

                                               s/Patrick S. Myers
                                               Patrick S. Myers
                                               Assistant Attorney General
                                               Attorney for Defendants




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